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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF KENTUCKY
                              LOUISVILLE DIVISION

 DOUGLAS E. MILLER                             )
                                               )
              PLAINTIFF                        )
                                               )
 v.                                            )   CIVIL ACTION NO. 3:20-CV-310-CHB
                                               )
 MARK BATSON, et al.                           )
                                               )
              DEFENDANTS                       )
                                               )

                                          ORDER

       The motion having been made, and this Court being otherwise sufficiently advised,

 IT IS HEREBY ORDERED that Plaintiff shall be permitted to file a consolidated response to

 Defendants’ Motions for Summary Judgment (DN 99 & DN 101).




                                           JUDGE


                                           DATE:
